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                                     EXHIBIT I
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            CONFIDENTIAL SETTLEMENT AND RELEASE AGREEMENT

       This Confidential Settlement and Release Agreement (“Agreement”) is entered
into by and between, Brett Michael Pepper as next friend of McKenzie Pepper and for
their heirs, personal representatives and assigns, (collectively “Pepper”), and Cody
Adkins and Dwayne Adkins (“the Adkins”) and their heirs, representatives, principals,
executors, administrators, officers, employees, agents, successors, insurers and
assigns (collectively “Released Parties”); and

         WHEREAS Pepper brought a claim against the Adkins and others in The United
States District Court for the Western District of Michigan, Southern Division, bearing
docket no. 1:20-CV-00583 (“Complaint”), alleging assault and battery, intentional
infliction of emotional distress, defamation and negligence against Cody Adkins and
negligent supervision and a statutory claim against Dwayne Adkins, alleging that
Pepper suffered damages including but not limited to personal injury and emotional
injury as more fully alleged in the Complaint;

      WHEREAS both Cody Adkins and Dwayne Adkins deny that they were in any
way responsible or liable for the claims and/or damages claimed by Pepper;

       WHEREAS the parties have agreed to resolve their differences as set forth
herein:

      NOW THEREFORE IN CONSIDERATION of the foregoing, and the agreements,
covenants, and conditions herein, and for good and valuable other consideration, the
adequacy and sufficiency of which is hereby acknowledged by the parties hereto,
Pepper and the Released Parties agree as follows:

       1.    Released Parties shall cause to be paid to Pepper, by draft made payable
to Brett Michael Pepper as next friend of McKenzie Pepper and his attorneys, Thirty
Thousand Dollars ($30,000.00) and in full satisfaction of any and all claims Pepper has
or could have brought against Released Parties through the present date.

       2.      Brett Michal Pepper as next friend of McKenzie Pepper releases, acquits,
and forever discharges Released Parties, from any and all causes of action, claims,
demands, liabilities, suits, damages and rights of any kind or nature whatsoever, in law
or in equity, through the date of execution of this Agreement, whether known or
unknown, fixed or contingent, including but not limited to claims asserted in the above-
referenced litigation.

       3.     The parties agree that this Agreement is confidential and promise not to
reveal any of the contents to any person or entity for any purpose whatsoever except as
required by order of a court of competent jurisdiction or as required for financial
accounting purposes.

      4.     The parties understand that this Agreement does not constitute an
admission of liability on the part of Released Parties, but is made to resolve the disputes
between the parties and liability is expressly denied by all.

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       5.     Pepper recognizes that any damages, injuries or illnesses that McKenzie
Pepper may have or claims to have sustained as the result of the events alleged in the
complaint filed in the above-referenced litigation, are or may be permanent and
progressive and that the recovery from said damages, injuries or illnesses is uncertain
and indefinite, and in entering into this Agreement is not relying on any statement of
Released Parties with respect to the nature, extent or duration of said injuries. Pepper
further declares and represents that no promise, inducement, or agreement not herein
expressed has been made to induce entry into this Agreement.

        6.      Pepper agrees to assume responsibility for any and all outstanding claims,
liens, payment obligations and assignments, known or unknown, including Medicare
liens, Medicaid liens and medical liens from any medical provider or health care
provider (collectively “liens”), from the proceeds on this settlement. The undersigned
covenants and warrants that all such liens have been disclosed in writing to the
Released Parties prior to the settlement. In the event that any known or unknown liens
exist, the undersigned agrees to indemnify, defend and hold harmless the Released
Parties for all such liens.

        7.     Brett Michael Pepper declares and affirms that he is the duly appointed
next friend of McKenzie Pepper with the power and authority to execute this Agreement.

      8.     To the extent any funds are placed in trust, either formally or informally for
Pepper, Pepper shall acknowledge tender of the settlement draft as full satisfaction of
Defendants’ obligation and shall agree to release and hold harmless these defendants
from any claims related to, or in any way associated with the management, oversight,
and custody of such funds until released in whole or in part to Pepper.

      9.     General Provisions:

             A.     This Agreement shall be binding upon and inure to the benefit of
                    the parties and their respective successors and assigns.
             B.     This Agreement and the rights of the parties shall be construed and
                    performed in accordance with the laws of the State of Michigan.

             C.     This Agreement constitutes the entire agreement between the
                    parties with respect to the subject matter hereof and supersedes all
                    prior agreements and representations, whether oral or written by
                    either party or representative of either party.

             D.     The parties hereby represent, acknowledge and warrant that they
                    have entered into this Agreement of their free will and accord and,
                    relying upon their own judgment and the advice of their counsel,
                    and they have not been induced to enter into this Agreement by
                    any statement, act or representation of any kind or character on the
                    part of the other, except as set forth herein.


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             E.     The parties hereby approve and ratify the actions of their attorneys
                    of record in executing the Stipulation for Dismissal with prejudice to
                    be entered in the lawsuit referenced herein.

             F.     This agreement may be executed in counterparts which together
                    shall constitute one and the same instrument and shall be binding
                    upon all the parties hereto and their respective heirs, personal
                    representatives, successors and assigns.

IN WITNESS WHEREOF we set our hand and seal this ______ day of _______, 2021.

STATE OF MICHIGAN         )
                          ) SS.
COUNTY OF                 )

                                               _______________________________
                                               Brett Michael Pepper, as Next Friend of
                                               McKenzie Pepper


On this       day of                     , 2021
before me personally appeared Brett Michael
Pepper, as Next Friend of McKenzie Pepper and
made oath that he has read the foregoing
Mutual Release Agreement by his subscribed,
knows the contents thereof, and that he has
signed the same as his own free act and deed.


NOTARY PUBLIC




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IN WITNESS WHEREOF we set our hand and seal this ______ day of _______, 2021.

STATE OF MICHIGAN         )
                          ) SS.
COUNTY OF                 )

                                               _______________________________
                                               Cody Adkins

On this       day of                     , 2021
before me personally appeared Cody Adkins
and made oath that he has read the foregoing
Mutual Release Agreement by his subscribed,
knows the contents thereof, and that he has
signed the same as his own free act and deed.


NOTARY PUBLIC



IN WITNESS WHEREOF we set our hand and seal this ______ day of _______, 2021.

STATE OF MICHIGAN         )
                          ) SS.
COUNTY OF                 )

                                               _______________________________
                                               Dwayne Adkins


On this       day of                     , 2021
before me personally appeared Dwayne Adkins
and made oath that he has read the foregoing
Mutual Release Agreement by his subscribed,
knows the contents thereof, and that he has
signed the same as his own free act and deed.


NOTARY PUBLIC




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